1:15-cv-01441-JBM # 1   Page 1 of 37
                                                         E-FILED
                             Monday, 26 October, 2015 11:39:20 AM
                                     Clerk, U.S. District Court, ILCD
1:15-cv-01441-JBM # 1   Page 2 of 37
1:15-cv-01441-JBM # 1   Page 3 of 37
1:15-cv-01441-JBM # 1   Page 4 of 37
1:15-cv-01441-JBM # 1   Page 5 of 37
1:15-cv-01441-JBM # 1   Page 6 of 37
1:15-cv-01441-JBM # 1   Page 7 of 37
1:15-cv-01441-JBM # 1   Page 8 of 37
1:15-cv-01441-JBM # 1   Page 9 of 37
1:15-cv-01441-JBM # 1   Page 10 of 37
1:15-cv-01441-JBM # 1   Page 11 of 37
1:15-cv-01441-JBM # 1   Page 12 of 37
1:15-cv-01441-JBM # 1   Page 13 of 37
1:15-cv-01441-JBM # 1   Page 14 of 37
1:15-cv-01441-JBM # 1   Page 15 of 37
1:15-cv-01441-JBM # 1   Page 16 of 37
1:15-cv-01441-JBM # 1   Page 17 of 37
1:15-cv-01441-JBM # 1   Page 18 of 37
1:15-cv-01441-JBM # 1   Page 19 of 37
1:15-cv-01441-JBM # 1   Page 20 of 37
1:15-cv-01441-JBM # 1   Page 21 of 37
1:15-cv-01441-JBM # 1   Page 22 of 37
1:15-cv-01441-JBM # 1   Page 23 of 37
1:15-cv-01441-JBM # 1   Page 24 of 37
1:15-cv-01441-JBM # 1   Page 25 of 37
1:15-cv-01441-JBM # 1   Page 26 of 37
1:15-cv-01441-JBM # 1   Page 27 of 37
1:15-cv-01441-JBM # 1   Page 28 of 37
1:15-cv-01441-JBM # 1   Page 29 of 37
1:15-cv-01441-JBM # 1   Page 30 of 37
1:15-cv-01441-JBM # 1   Page 31 of 37
1:15-cv-01441-JBM # 1   Page 32 of 37
1:15-cv-01441-JBM # 1   Page 33 of 37
1:15-cv-01441-JBM # 1   Page 34 of 37
1:15-cv-01441-JBM # 1   Page 35 of 37
1:15-cv-01441-JBM # 1   Page 36 of 37
1:15-cv-01441-JBM # 1   Page 37 of 37
